  Case 18-00135           Doc 32   Filed 11/19/18 Entered 11/19/18 10:59:49                 Desc Main
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF ALASKA

In re                                        )
                                             )
William Claude Abercrombie,                  ) CASE NO. 18-00135
                                             )
                                     Debtor   )
______________________________________________)

                                STIPULATION TO CONTINUE HEARING

        The Debtor and Eric LeRoy, counsel for Development Services Group, Inc. stipulate to the

following:

        The Hearing set for November 19, 2018 at 11 am in the Herbert A. Ross Historic Bankruptcy
                     th
Courtroom, 605 W. 6 Ave., Anchorage, Alaska, 99501, will be VACATED

        Based upon this stipulation the parties agree that the 2004 Exam will take place on either 6 or 7

December 2018.

        DATED: November 19, 2018.

                                         Respectfully submitted,

                                         Gazewood & Weiner, P.C.

                                         /s/ Jason A. Gazewood
                                         Jason A. Gazewood
                                         Attorney for debtor
                                         Alaska Bar Number 0211060

                                         Erik LeRoy, P.C.
                                         Counsel for Development Services, Group, Inc.
                                         Alaska Bar Number 8310130

                                         /s/ Erik LeRoy
